Case 2:16-md-02740-JTM-MBN Document 7775-1 Filed 07/30/19 Page 1 of 3




                  EXHIBIT A
   Case
    Case2:16-md-02740-JTM-MBN
         2:16-md-02740-JTM-MBN Document
                                Document7775-1 Filed05/01/19
                                         6854 Filed  07/30/19 Page
                                                               Page12ofof23




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


 IN RE: TAXOTERE (DOCETAXEL)                      )    MDL No. 2740
 PRODUCTS LIABILITY LITIGATION                    )
                                                  )
 This Document Relates to:                        )    SECTION “H” (5)
                                                  )
 Ami Cisco v. Sanofi-Aventis U.S. LLC., et al.;   )    HON. JUDGE JANE TRICHE MILAZZO
 Case No. 2:17-cv-16594                           )
                                                  )
 _____________________________________            )    MAG. JUDGE MICHAEL NORTH



                         NOTICE AND SUGGESTION OF DEATH

TO ALL PARTIES AND ATTORNEYS OF RECORD, please take notice that:

       Undersigned counsel, pursuant to Rule 25(a)(1) of the Federal Rules of Civil Procedure

hereby informs the Honorable Court of the death of Plaintiff Ami Cisco.



Dated: May 1, 2019                           Respectfully submitted,

                                                      /s/ Leslie LaMacchia

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                                         6854 Filed  07/30/19 Page
                                                               Page23ofof23




                                CERTIFICATE OF SERVICE

       I hereby certify that on May 1, 2019, I electronically filed the foregoing document with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to all

counsel of record.



Dated: May 1, 2019                           Respectfully submitted,

                                                    /s/ Leslie LaMacchia

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